
PER CURIAM.
Having reviewed the record in keeping with Anders v. California, 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed.2d 493 (1967), we affirm the disposition rendered after J.A.L. pleaded guilty to counts of grand theft of an automobile and dealing in stolen property, his withhold of adjudication after a disposition hearing on a third count for burglary of a dwelling, and his placement on juvenile probation for the various counts. We remand only for the trial court to enter a written order reflecting that the fourth count-grand theft-was merged with the dealing in stolen property count at the time of the plea as stated in the transcript of the plea hearing. See generally Lenker v. State, 151 So.3d 1273 (Fla. 2d DCA 2014) (affirming but remanding in an Anders proceeding for entry of a written record accurately reflecting the resolution of the various counts).
Affirmed; remanded with instructions.
KELLY and SALARIO, JJ., and CASE, JAMES R., ASSOCIATE SENIOR JUDGE, Concur.
